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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA


 In re:                                               Case No. 24-30760
                                                      Chapter 7
 Minnesota Implant Center, P.L.L.C.,

                       Debtor.


  NOTICE OF HEARING AND MOTION FOR ORDER AUTHORIZING EXAMINATIONS
                  AND RELATED DOCUMENT PRODUCTION
                        PURSUANT TO RULE 2004

          TO: The debtor and other entities specified in the applicable Federal Rules of Bankruptcy
          Procedure and Local Rule 9013-2.

          1.     Nauni Manty, the chapter 7 trustee of the bankruptcy estate of Minnesota Implant

Center, P.L.L.C., moves the court for authorization to conduct Rule 2004 examinations and gives notice

of hearing.

          2.     The court will hold a hearing on this motion on Thursday, May 2, 2024, at 10:30 a.m.

in Courtroom 8W, at the Diana E. Murphy United States Courthouse, 300 South Fourth Street, in

Minneapolis, Minnesota 55415.

          3.     Any response to this motion must be filed and served not later than Thursday, April

25, 2024, which is seven days before the time set for the hearing (including Saturdays, Sundays, and

holidays). UNLESS A RESPONSE OPPOSING THE MOTION IS TIMELY SERVED AND

FILED, THE COURT MAY ENTER AN ORDER GRANTING THE REQUESTED RELIEF

WITHOUT A HEARING.

          4.     This court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and 1334, Fed.

R. Bankr. P. 5005 and Local Rule 1070-1. This proceeding is a core proceeding. The petition

commencing the chapter 7 bankruptcy case was filed on March 22, 2024. This case is now pending in

this court.
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        5.      This motion arises under Fed. R. Bankr. P. 2004. This motion is filed pursuant to Fed.

R. Bankr. P. 9014 and Local Rules 9013-1 and 9013-2.

        6.      The trustee seeks to examine C T Corporation System and Wolters Kluwer.

        7.       C T Corporation System recorded a UCC-1 Financing Statement against the debtor. See

Ex. A. The trustee contacted CT about the financing statement and requested copies of the underlying

loan documents. CT or Wolters Kluwer responded, indicating it filed the financing statement on behalf

of another entity and refused to identify the entity. They likewise refused to provide any information

or records of the underlying loan documents.

        8.       The trustee seeks to examine CT and Wolters Kluwer to determine the secured party

purporting to have a security interest in the debtor’s assets.

        9.      The information sought pursuant to Rule 2004 is necessary because it relates directly to

the assets and liabilities of the debtor, which affect the administration of this estate.

        WHEREFORE, the trustee respectfully requests that this court enter an order:

        1.      Authorizing the trustee to conduct an examination of C T Corporation System and

Wolters Kluwer United States, Inc. pursuant to Fed. R. Bankr. P. 2004.

        2.      Granting the trustee such other and further relief as may be just and appropriate.


Dated: April 18, 2024                                     MANTY & ASSOCIATES, P.A.

                                                  By:     s/ Mary F. Sieling
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